                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

RICKY MATLOCK and BRIDGET
MATLOCK,
                                                           Case No. 3:18-cv-00047
       Plaintiffs,                                         Judge William L. Campbell, Jr.
                                                           Magistrate Judge Newbern
v.

ROUNDPOINT MORTGAGE SERVICING
CORPORATION, EMBRACE HOME LOANS,
INC., and LOANCARE, LLC,

       Defendants.


                      DEFENDANTS’ MOTION TO CONTINUE TRIAL

         COMES NOW, LoanCare, LLC (“LoanCare”), RoundPoint Mortgage Servicing

Corporation (“RountPoint”), and Embrace Home Loans, Inc. (“Embrace”) (collectively, the

“Defendants”), and respectfully move this Court to continue the trial date, stating as follows:

         1.      On November 9, 2018, this Court entered a Trial Management Order, setting a

jury trial for December 10, 2019. [Doc. 46]. The first pretrial deadlines fall on November 18,

2019. Id. at p. 1.

         2.      LoanCare, RoundPoint, and Embrace all filed Motions for Summary Judgment on

July 19, 2019. [Docs. 76, 79]. The Plaintiffs’ response to the motions was made provisionally

under seal [Docs. 88-93], along with a Motion for Leave to File Under Seal. [Doc. 87]. There is a

dispute between the parties regarding the propriety of filing under seal and the inclusion of

certain documents in the provisionally sealed response. See [Docs. 94, 103, 106]. The Motions

for Summary Judgment and Motion for Leave to File Under Seal remain pending, with the last

brief being filed on September 27, 2019. [Doc. 109]. Accordingly, these now fully briefed

motions have been pending with the Court for just over a month.

                                                 1
     Case 3:18-cv-00047 Document 110 Filed 10/29/19 Page 1 of 3 PageID #: 2406
       3.      The outcome of the pending dispositive motions will likely greatly impact trial

preparation. If granted, there is no need for trial. If granted in part, the Parties can potentially

reduce the number of witnesses and evidence needed to present their cases. In order to avoid the

potentially needless expense and use of time in preparing for trial, the Defendants respectfully

request that this Court continue the trial date pending a decision on the motions for summary

judgment.

       4.      The Defendants sought the joinder of the Plaintiffs in this Motion, but they

declined.

       WHEREFORE, LoanCare, RoundPoint, and Embrace respectfully pray for relief as

follows:

       a) That this Court continue the December 10, 2019, trial date pending a decision on the

            motions for summary judgment; and

       b) For any other relief that this Court deems just and proper.

       Respectfully submitted, this 29th day of October 2019.

                                                     /s/ Bret J. Chaness
                                                     BRET J. CHANESS (BPR # 31643)
                                                     RUBIN LUBLIN TN, PLLC
                                                     3140 Avalon Ridge Place, Suite 100
                                                     Peachtree Corners, GA 30071
                                                     (678) 281-2730 (Telephone)
                                                     (404) 921-9016 (Facsimile)
                                                     bchaness@rubinlublin.com
                                                     Attorney for LoanCare, LLC

                                                     /s/ Shaun K. Ramey (by BJC w/ permission)
                                                     SHAUN K. RAMEY (BPR # 35574)
                                                     McGlinchey Stafford, PLLC
                                                     424 Church Street, Suite 2000
                                                     Nashville, TN 37219
                                                     sramey@mcglinchey.com
                                                     Attorney for RoudPoint Mortgage Servicing
                                                     Corporation and Embrace Home Loans, Inc.


                                                 2
  Case 3:18-cv-00047 Document 110 Filed 10/29/19 Page 2 of 3 PageID #: 2407
                               CERTIFICATE OF SERVICE

       I hereby certify that I have this 29th day of October 2019, filed the within and foregoing

by CM/ECF, which will serve notice on all parties

                                            /s/ Bret J. Chaness
                                            BRET J. CHANESS (BPR # 31643)




                                               3
  Case 3:18-cv-00047 Document 110 Filed 10/29/19 Page 3 of 3 PageID #: 2408
